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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 MELCHIOR A. GEORGE,

                       Plaintiff,

                       v.                             Case No. 1:20-cv-01914 (TNM)

 MOLSON COORS BEVERAGE
 COMPANY USA, LLC,

                       Defendant.


                        MEMORANDUM OPINION AND ORDER

       Melchior George is a former employee of Molson Coors Beverage Co. USA, LLC.

While employed, he experienced health issues and eventually received a heart transplant. He

showed interest in returning to work, with accommodations, but Molson Coors terminated him.

George brings claims of disability and race discrimination under the D.C. Human Rights Act

(“DCHRA”) and claims of interference and retaliation under the Family and Medical Leave Act

(“FMLA”). Molson Coors moves to dismiss all counts except the claim for disability

discrimination. The Court will grant the motion but will allow George to amend his Complaint.

                                               I.

       George started working for Molson Coors in 1991 as an Area Sales Manager. Compl.

¶ 17, ECF No. 1. Twenty years later, he was promoted to the position of National Account

Executive. Id. ¶ 18. He was one of two African Americans “at his level” in his division. Id.

¶ 19. As a National Account Executive, he was responsible for all sales programming for chains

on the East Coast, including the Buffalo Wild Wings chain. Id. ¶ 20. His team received several

performance awards. Id. ¶¶ 21, 24.
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       Starting around July 2015, George began to experience “periodic bouts of unexplained

nausea.” Id. ¶ 25. He used sick leave to recover, but he was never out of work for long until

2018. Id. ¶¶ 25, 27, 29. Between July and September of that year, he experienced “severe and

debilitating nausea,” leading to his hospitalization. Id. ¶ 27. Medical tests revealed that he had

congestive heart failure and additional tests found him an ideal candidate for a heart transplant.

Id. ¶ 28. In the wake of these events, George was “out on short term disability [leave] starting in

September/October 2018.” Id. ¶ 29. He remained in touch with his supervisors and told them

that he intended to return in May 2020. Id. ¶¶ 31, 34.

       In late February 2019, George received his 2018 performance review from Christopher

Gick, a Senior Vice President. Id. ¶ 32. The written feedback was positive, but George viewed

his rating as “lower than anticipated.” Id. ¶ 33. George submitted a “written rebuttal” and asked

Gick to take another look at his performance. Id. ¶¶ 33, 41, 45. Another supervisor, a “Mr.

Sanchez,” promised to respond to George’s rebuttal, but he never did. Id. ¶¶ 41, 44–45.

       George received a successful heart transplant on May 23, 2019. Id. ¶ 37. After the

surgery, he spent four weeks in the hospital, undergoing “extensive rehabilitation and physical

therapy.” Id. ¶ 38. On June 4, Sanchez sent George an email “pushing for his immediate return

to work.” Id. ¶ 39. Later that day, Sanchez “apologized for the tone” of his email and asked for

George’s thoughts on how other employees should handle his role in his absence. Id. ¶¶ 40–41,

43. George “made it clear that he planned to return to his role, but would also be open to new

roles if necessary.” Id. ¶ 43.

       According to George, his “short term disability and accrued leave expired on or around

August 22, 2019, at which time he transitioned to long term disability leave, to carry him through

his anticipated return date (with no restrictions) of May 4, 2020.” Id. ¶ 46. That month, his




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physician provided “formal written notification” to Molson Coors of George’s desire to return to

work and his anticipated health restrictions. Id. ¶ 42. The anticipated restrictions were “no air

travel, [a] three-hour travel/drive radius, and [a] 10-12 hours per week driving restriction, until

May 2020.” Id. ¶ 49.

       In late October, George met with Tara Jo Nellans, a human resources employee, to

discuss his restrictions. Id. ¶¶ 48, 50. George “provided the required documentation” and

Nellans said that Molson Coors would work “diligently” to provide a job “that would meet

[George’s] need for accommodations.” Id. ¶ 50.

       Over the next two months, Nellans “scheduled, and cancelled, three separate meetings to

discuss [George’s] return to work plans and specific accommodations.” Id. ¶ 48. And then in

late November, Molson Coors terminated George’s employment. Id. ¶ 51. Nellans allegedly

told George that no available positions existed for which he was qualified, but the company

would “re-evaluate” his situation if his “condition or abilities change in the future.” Id.

       Yet, George alleges, Molson Coors filled an open position that autumn for which he was

qualified and that would have accommodated his travel restrictions. Id. ¶ 56. And he was “not

considered” for other such jobs. Id. ¶ 58.

       George was replaced by a Caucasian employee. Id. ¶¶ 59–60. He was also “not offered

any severance or bonus” upon termination. Id. ¶ 52. Two Caucasian employees—Craig

Bosworth (“VP of Kroger”) and Tom Blair (“VP of 7-11”)—allegedly received severance

payments when they were terminated from Molson Coors. Id. ¶¶ 53, 78. George further alleges

that in 1975, Molson Coors’s predecessor company “entered into a large settlement with the

[Equal Employment Opportunity Commission (“EEOC”)] arising from claims of race

discrimination.” Id. ¶ 61. Even though the company “was supposed [to] alter its practices to




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become less discriminatory,” it “retained the composition of its non-diverse work force”

throughout George’s employment. Id.

         George brings four claims: (1) disability discrimination under the DCHRA (Count I); (2)

race discrimination under the DCHRA (Count II); (3) FMLA interference (Count III); and (4)

FMLA retaliation (Count IV). Id. ¶¶ 62–117. 1 Molson Coors moves to dismiss Counts II, III,

and IV for failure to state a claim. Def.’s Mot. at 1, 2 ECF No. 6; see Fed. R. Civ. P. 12(b)(6).

This motion is ripe for disposition.

                                                  II.

         To survive a Rule 12(b)(6) motion, “a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (cleaned up) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). To meet this standard, a plaintiff must plead “factual content that allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

         The Court must “treat the complaint’s factual allegations as true and must grant the

plaintiff[] the benefit of all inferences that can be derived from the facts alleged.” L. Xia v.

Tillerson, 865 F.3d 643, 649 (D.C. Cir. 2017) (cleaned up). But the Court need not credit legal

conclusions couched as factual allegations. Iqbal, 556 U.S. at 678. And while a complaint need

not contain “detailed factual allegations,” it must provide “more than an unadorned, the-

defendant-unlawfully-harmed-me accusation.” Id. The plausibility standard “asks for more than

a sheer possibility that a defendant has acted unlawfully.” Id. Assessing plausibility is




1
  The Court has federal question jurisdiction over the FMLA claims, 28 U.S.C. § 1331, and it
has supplemental jurisdiction over the DCHRA claims, id. § 1367(a).
2
    All page citations refer to the page numbers that the CM/ECF system generates.


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ultimately a “context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id. at 679.

                                                   III.

                                                   A.

        Molson Coors argues that George’s Complaint does not state a plausible claim of race

discrimination under the DCHRA. Def.’s Mem. at 2–4, ECF No. 6-1. The Court agrees.

        The DCHRA makes it unlawful for employers to discriminate against employees based

on race. D.C. Code § 2-1402.11(a)(1)(A). In analyzing this prohibition, the D.C. Court of

Appeals generally looks to decisions of federal courts in Title VII cases. See Daka, Inc. v.

Breiner, 711 A.2d 86, 94 (D.C. 1998).

        In the Title VII context, a plaintiff need not offer “specific facts establishing a prima facie

case of discrimination.” Swierkiewicz v. Sorema N.A., 534 U.S. 506, 508 (2002). But the

plaintiff still must allege “enough facts to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570. And the core of a discrimination claim is that the plaintiff suffered an

adverse action because of a protected characteristic. See Baloch v. Kempthorne, 550 F.3d 1191,

1196 (D.C. Cir. 2008). Indeed, in applying the Twombly and Iqbal pleading standard to

discrimination claims under the DCHRA (including race discrimination), the D.C. Court of

Appeals has asked whether the plaintiff “sufficiently pled a nexus between the adverse

employment actions and the alleged discriminatory motives.” Poola v. Howard Univ., 147 A.3d

267, 280 (D.C. 2016).

        George’s Complaint fails this test. He alleges unfavorable treatment that manifested

itself in several ways—an “inexplicably low” rating on his 2018 performance review, never

receiving feedback on his performance review despite repeated requests, his ultimate




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termination, not receiving severance, and the company’s failure to consider him for positions that

he was qualified to perform and that would have accommodated his restrictions. Pl.’s Opp’n at

5, ECF No. 7. In seeking to tie this unfavorable treatment to his race, George makes only a

handful of allegations. Even when considered collectively, these allegations fail to state a

plausible case.

       George first alleges that he was replaced by a Caucasian employee. Compl. ¶¶ 59–60.

But unsurprisingly, that alone is not enough to get past the pleading stage. See McCleary-Evans

v. Md. Dep’t of Transp., 780 F.3d 582, 586 (4th Cir. 2015). This sort of allegation may be

“consistent with discrimination,” but “it does not alone support a reasonable inference that the

decisionmakers were motivated by bias.” Id. It “stops short of the line between possibility and

plausibility of entitlement to relief.” Id. (cleaned up).

       George mainly relies on an allegation that two Caucasian employees received a severance

payment upon their termination from Molson Coors, while he did not. Compl. ¶¶ 53, 78; see

Pl.’s Opp’n at 5. He posits that these were “similarly-situated” employees treated more

favorably. Pl.’s Opp’n at 5. And he claims to have “specifically alleged [that] one of the

Caucasian employee comparators was of equal seniority to himself.” Id.

       But George’s Complaint tells another story. One of these employees, Craig Bosworth,

“was hired at the same time as [George].” Compl. ¶ 53. An allegation that two employees were

“hired at the same time” is surely not an allegation that they were “of equal seniority.” And the

Complaint elsewhere describes Bosworth and the other employee, Tom Blair, as Vice Presidents

of “Kroger” and “7-11,” respectively. See id. ¶ 78. George was a National Account Executive.

Id. ¶ 18. So his proposed comparators had different jobs in different companies. George’s own

allegations contradict any notion that he was similarly situated to the two Caucasian employees




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who received a severance payment. See Burley v. Nat’l Passenger Rail Corp., 801 F.3d 290, 301

(D.C. Cir. 2015) (“To prove that he is similarly situated to another employee, a

plaintiff must . . . demonstrate that all of the relevant aspects of his employment situation were

nearly identical to those of the other employee.” (cleaned up)).

       In defending the sufficiency of his allegations, George cites McNair v. District of

Columbia, 213 F. Supp. 3d 81 (D.D.C. 2016), and Poola, 147 A.3d 267. See Pl.’s Opp’n at 5–6.

But as Molson Coors rightly points out, see Def.’s Reply at 4 n.1, ECF No. 8, the pleadings in

those cases had more substance. In McNair, the plaintiff alleged that she, an administrative law

judge, was not allowed to work from home even though other administrative law judges of a

different race were allowed. See 213 F. Supp. 3d at 87. And in Poola, there was considerable

detail about how male, African-American administrators treated the plaintiff and other female,

non-African-American professors less favorably than their male, African-American counterparts,

including examples of belittlement and harassment. See 147 A.3d at 273–74, 278–79. McNair

and Poola are a far cry from this case, in which George’s Complaint itself negates any inference

that he was similarly situated to the alleged comparators.

       George’s Complaint contains two other race-based allegations, but neither suggests that

race had anything to do with the unfavorable treatment he received. George claims he was “one

of only two African-Americans (together with Ron Freeman) at his level within the division

throughout his employment.” Compl. ¶ 19. At worst, this allegation undermines an inference of

race discrimination and at best, it tells us nothing. George nowhere alleges that Molson Coors

took adverse action against Freeman, and the company took no adverse action against George

until 2019. Indeed, he was an award-winning team member. Id. ¶¶ 21, 24. George became a

National Account Executive in 2011, so there were two African Americans “at his level” for




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eight years with no adverse action taken against them. Id. ¶¶ 18–19. Thus, for a long while,

Molson Coors accepted having two African Americans in George’s division, indicating that

something other than race motivated the eventual adverse action against George. More, he does

not say how many total employees were “at his level within the division.” Id. ¶ 19. If, for

example, there were three total, then African-American employees were in the majority. In

short, this allegation is not even “consistent with” discrimination, much less does it help support

a plausible inference of racial bias. See Iqbal, 556 U.S. at 678.

       Finally, George alleges that Molson Coors’s predecessor company “entered into a large

settlement with the EEOC arising from claims of race discrimination.” Compl. ¶ 61. And even

though Molson Coors “was supposed [to] alter its practices to become less discriminatory as part

of that agreement,” the company “retained the composition of its non-diverse work force”

throughout George’s employment. Id. But George does not explain why these general

background allegations raise an inference that he suffered from race discrimination. See Pl.’s

Opp’n at 4–7; Williams v. Boorstin, 663 F.2d 109, 115 n.38 (D.C. Cir. 1980) (“This [Title VII]

suit is not a class action. Consequently, in this case, evidence of systematic or general instances

of discrimination can only be collateral to evidence of specific discrimination against the actual

plaintiff.” (citation omitted)). Indeed, he does not even mention these allegations in his

opposition brief. See Pl.’s Opp’n at 4–7.

       Because the Complaint’s allegations—even taken collectively—fail to state a plausible

claim of race discrimination under the DCHRA, the Court will dismiss Count II.

                                                 B.

       Molson Coors next contends that George’s Complaint does not state a plausible claim of

interference or retaliation under the FMLA. Def.’s Mem. at 4–7. The Court again agrees.




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       Under the FMLA, it is unlawful “for any employer to interfere with, restrain, or deny the

exercise of or the attempt to exercise, any right provided under this subchapter.” 29 U.S.C.

§ 2615(a)(1). It is also unlawful “for any employer to discharge or in any other manner

discriminate against any individual for opposing any practice made unlawful by this subchapter.”

Id. § 2615(a)(2). Courts generally recognize an “FMLA interference” claim under § 2615(a)(1)

and an “FMLA retaliation” claim under § 2615(a)(2). See Gordon v. U.S. Capitol Police, 778

F.3d 158, 160–61 (D.C. Cir. 2015).

                                                  1.

       Start with interference. To succeed on this claim, a plaintiff need not show that his

employer denied requested leave. Id. at 164. Rather, “an employer action with a reasonable

tendency to ‘interfere with, restrain, or deny’ the ‘exercise of or attempt to exercise’ an FMLA

right may give rise to a valid interference claim . . . even where the action fails to actually

prevent such exercise or attempt.” Id. at 165.

       The main problem with George’s interference claim, as currently pleaded and argued, is

that he never says when he was on FMLA leave. He advances four theories of interference, but

they all rely on one of two premises: either that George was on FMLA leave when Molson Coors

took interfering action or that his FMLA leave had just ended when Molson Coors took

interfering action. See Pl.’s Opp’n at 7–8. With no coherent allegations about when George was

on FMLA leave, these theories of interference lack any substance and cannot proceed.

       His first two theories stem from the same basic events. George alleges that in June 2019,

soon after he underwent his surgery and while still hospitalized, Sanchez contacted him without

authorization. Compl. ¶ 40. When Sanchez reached out, he allegedly “push[ed] for [George’s]

immediate return to work.” Id. ¶ 39. He also asked for George’s thoughts on how other




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employees should handle his role during his absence. Id. ¶ 41. For his first theory of

interference, George suggests, without invoking any caselaw, that Molson Coors interfered with

his FMLA rights because Sanchez contacted him without authorization while he was on FMLA

leave. See Pl.’s Opp’n at 7–8. For his second theory, George argues, again without citation to

authority, that Molson Coors interfered with his FMLA rights because Sanchez asked him to

perform substantive work while he was on FMLA leave. See id. at 8.

       But when was George on FMLA leave? Even granting him “the benefit of all inferences

that can be derived from the facts alleged,” as the Court must, L. Xia, 865 F.3d at 649, there is no

basis to infer that George was on FMLA leave in June 2019, when Sanchez contacted him.

Perplexingly, George nowhere alleges in his Complaint (or even his opposition brief) when he

was on FMLA leave. See Greer v. Bd. of Trs. of Univ. of D.C., 113 F. Supp. 3d 297, 311

(D.D.C. 2015) (“[T]he unavailability of details does not excuse Plaintiff from alleging, on

information and belief if necessary, the general sequence of events and basic facts.”). He at

times refers to periods of “leave,” but he nowhere alleges that these were periods of FMLA leave.

See Compl. ¶¶ 29, 31, 33, 46.

       And if anything, George’s own allegations suggest he was not on FMLA leave in June

2019. The earliest period of leave that George mentions is the “short term disability [leave]

starting in September/October 2018,” which began after he was diagnosed with congestive heart

failure. Id. ¶¶ 27–29. As Molson Coors points out, see Def.’s Reply at 6 n.3, FMLA leave

generally begins to run from the time that an employee becomes disabled. See 29 U.S.C.

§ 2612(a)(1)(D); Sampson v. Citibank, F.S.B., 53 F. Supp. 2d 13, 18 (D.D.C. 1999), aff’d, 221

F.3d 196 (D.C. Cir. 2000). And the cap on FMLA leave is clear: employees are “entitled to a

total of 12 workweeks of leave during any 12-month period.” 29 U.S.C. § 2612(a)(1). So if we




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assume that George’s FMLA leave began on October 31, 2018, it would have expired on January

23, 2019, with George unable to take off another 12 weeks at least until October 31, 2019 (the

beginning of the next 12-month period). 3 So, unless George clarifies the timeline of events, he

could not have been on FMLA leave in June 2019, when Sanchez contacted him.

       The same problem exists for George’s other two theories of interference. He notes that

an employee is “entitled, on return from [FMLA] leave . . . to be restored by the employer to the

position of employment held by the employee when the leave commenced . . . or . . . to be

restored to an equivalent position.” Id. § 2614(a)(1)(A)–(B); see Pl.’s Opp’n at 7. So he claims

that Molson Coors interfered with his FMLA rights when it denied him “the right to return to an

equivalent position at the end of his FMLA leave.” Pl.’s Opp’n at 8. He specifically observes

that Molson Coors “took no action to return [him] to the workplace for four months before

terminating him.” Id. (emphasis added). As he was terminated on November 25, 2019, see

Compl. ¶ 51, the alleged interfering conduct here started in late July 2019, six months after

George’s presumed initial period of FMLA leave would have expired in January 2019.

       Since George’s theory is that Molson Coors failed to restore him to work “at the end of

his FMLA leave,” Pl.’s Opp’n at 8, there is a fatal discrepancy here. And indeed, another judge

in this District has reasoned that once an FMLA period is “exhausted,” the employer “is not

required to hold the employee’s job for [his] eventual return.” Alford v. Providence Hosp., 945

F. Supp. 2d 98, 105 (D.D.C. 2013), aff’d, 561 F. App’x 13 (D.C. Cir. 2014). The FMLA “do[es]

not provide a guarantee that employment will continue if the unpaid leave expires and the



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  Though neither party addresses the issue, George likely would not have been entitled to
another 12 weeks of FMLA leave even after October 31, 2019. By George’s own telling, he
never returned to work in 2019, but to be eligible for FMLA leave, an employee must have “been
employed . . . for at least 1,250 hours of service with [his] employer during the previous 12-
month period.” 29 U.S.C. §§ 2611(2)(A)(ii), 2612(a)(1).


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employee is still unable to return to work. An employee who exceeds the permitted FMLA leave

time has no right to be restored to his or her job.” Id. (cleaned up). George provides no

countervailing authority suggesting that failure to restore an employee six months after his

FMLA leave expires interferes with the employee’s rights under 29 U.S.C. § 2614(a)(1). See

Pl.’s Opp’n at 7–8.

       George’s final theory of interference stems from the negative performance rating he

received on February 28, 2019. Id. at 8; see Compl. ¶ 32. In his telling, he received this rating

“right as he went out on medical leave.” Pl.’s Opp’n at 8. And he contends that “[t]he close

temporal proximity between the negative review and [his] use of FMLA leave is sufficient to

state a claim for FMLA interference, as employees would be discouraged from taking FMLA

leave if taking leave would incur a negative performance review.” Id. at 8–9. But if George’s

initial period of FMLA leave expired on January 23, 2019, then his February 28 rating did not

come “right as he went out on medical leave.” Once again, without a coherent timeline of when

George was on FMLA leave, his theory of interference is self-defeating.

       To be sure, there are other problems with George’s theories of interference. For his final

theory, George fails to explain how a negative performance rating—even if it comes while an

employee is on FMLA leave—would have a “reasonable tendency” to interfere with the exercise

of FMLA rights. Gordon, 778 F.3d at 165; see Pl.’s Opp’n at 8–9. If that were true, then an

employer could never give an employee a negative performance review while he is on FMLA

leave. And in support of this theory, George cites Thomas v. District of Columbia, 227 F. Supp.

3d 88, 109 (D.D.C. 2016), but the portion of Thomas that George cites was discussing FMLA

retaliation, not interference (nor was it discussing performance reviews). Id. at 109–10; see Pl.’s

Opp’n at 9.




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       As to George’s first two theories of retaliation, Molson Coors cites authority suggesting

that “minor annoyances” or other de minimis conduct cannot support claims for FMLA

interference. See Def.’s Mem. at 6 (citing Joyce v. Office of the Architect of the Capitol, 966 F.

Supp. 2d 15, 24 (D.D.C. 2013)); Def.’s Reply at 5–6 (citing, e.g., O’Donnell v. Passport Health

Commc’ns, Inc., 561 F. App’x 212, 218 (3d Cir. 2014)). The Court agrees with Molson Coors

that, as alleged, Sanchez’s contact with George was de minimis. Def.’s Mem. at 5–6. After

emailing George “pushing for his immediate return to work,” Sanchez apologized the same day,

explaining that he had outdated information about George’s status and his lack of authorization

to contact George. Compl. ¶¶ 39–40. He also solicited George’s thoughts on how other

employees “should handle his role in his absence,” an eminently reasonable question. See Reilly

v. Revlon, Inc., 620 F. Supp. 2d 524, 537 (S.D.N.Y. 2009) (“Fielding occasional calls about

one’s job while on leave is a professional courtesy . . . . When limited to the scope of passing on

institutional knowledge to new staff, or providing closure on completed assignments, employers

do not violate the FMLA by making such calls.”).

       George fails to respond to Molson Coors’s arguments in this regard, see Pl.’s Opp’n at 7–

9, conceding them for now. See LCvR 7(b); Wannall v. Honeywell, Inc., 775 F.3d 425, 428

(D.C. Cir. 2014) (“[I]f a party files an opposition to a motion and therein addresses only some of

the movant’s arguments, the court may treat the unaddressed arguments as conceded.”).

       For all these reasons, George has failed to state a plausible claim of FMLA interference,

and the Court will dismiss Count III.

                                                 2.

       George’s FMLA retaliation claim also suffers from a timing problem. A central element

of this claim is that the employee’s exercise of FMLA rights caused an adverse action. See




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Gordon, 778 F.3d at 161. George’s theory of retaliation is that Molson Coors gave him a

negative performance review, refused to return him to work, and ultimately terminated him all

because he took FMLA leave. See Pl.’s Opp’n at 9. But his only allegation in support of this

connection is that these actions occurred after he took FMLA leave. See id. In other words, he

relies solely on an allegation of temporal proximity to state his case.

        When a plaintiff hangs his hat on temporal proximity alone, the exact timing matters. A

gap of three months or more is generally too long to support an inference of causation. See

Clark Cnty. Sch. Dist. v. Breeden, 532 U.S. 268, 273–74 (2001). Because George’s Complaint

does not say when he was on FMLA leave, it is necessarily devoid of any allegations that he

suffered adverse action within three months of taking this leave. By not even alleging a gap of

under three months, George fails to state a plausible retaliation claim. Simply put, an FMLA

retaliation claim premised solely on timing cannot proceed when a plaintiff nowhere alleges the

timing of his FMLA leave.

        And if anything, George’s allegations suggest that the gap was more than three months.

The clock starts when the employer knows about the employee’s protected activity. See id. at

273. Here, presumably Molson Coors knew about George’s protected activity—taking FMLA

leave—from the moment his leave began, and there is no allegation to the contrary. See Compl.

¶¶ 29–31; Pl.’s Opp’n at 9–10. If George started his leave on October 31, 2018, see supra

Section III.B.1, then three months later would be the end of January 2019. Yet the earliest

alleged adverse action—the negative performance review—came in late February. Compl. ¶ 32.

And the other two alleged adverse actions—the “refusal to allow [George] to return to work in

August 2019” and his termination on November 25—came much later. Pl.’s Opp’n at 9; Compl.

¶ 51.




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          George thus fails to state a plausible claim of FMLA retaliation, and the Court will

dismiss Count IV.

                                                *   *       *

          Molson Coors, without elaboration, asks the Court to dismiss Counts II, III, and IV with

prejudice. Def.’s Mem. at 8; Def.’s Reply at 9. Dismissal with prejudice is warranted “only

when . . . the allegation of other facts consistent with the challenged pleading could not possibly

cure the deficiency.” Rudder v. Williams, 666 F.3d 790, 794 (D.C. Cir. 2012) (cleaned up). At

this early stage, the Court is not prepared to say that George cannot possibly cure the deficiencies

with Counts II, III, and IV. So the Court will dismiss them without prejudice and will allow

George to file an Amended Complaint.

                                                    IV.

          For all these reasons, it is hereby

          ORDERED that Defendant’s [6] Partial Motion to Dismiss is GRANTED. Counts II,

III, and IV of Plaintiff’s [1] Complaint are DISMISSED WITHOUT PREJUDICE; and it is

further

          ORDERED that Plaintiff is granted leave to file an Amended Complaint on or before

October 26, 2020. Failure to make this filing will result in dismissal of Counts II, III, and IV of

Plaintiff’s [1] Complaint with prejudice.

          SO ORDERED.
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Dated: September 24, 2020                                 TREVOR N. McFADDEN, U.S.D.J.




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